
BQE Acupuncture, P.C., as Assignee of Hart Peter, Respondent, 
againstGEICO Ins. Co., Appellant. 




Law Office of Goldstein &amp; Flecker (Lawrence J. Chanice of counsel), for appellant.
The Rybak Firm, PLLC (Oleg Rybak of counsel), for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Lorna J. McAllister, J.), entered June 11, 2018. The order, insofar as appealed from and as limited by the brief, denied defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and defendant's cross motion for summary judgment dismissing the complaint is granted.
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals, as limited by the brief, from so much of an order of the Civil Court as denied defendant's cross motion for summary judgment dismissing the complaint.
For the reasons stated in Acupuncture Now, P.C., as Assignee of Lozano, Cleotilde v Global Liberty Ins. (___ Misc 3d ___, 2019 NY Slip Op _____ [appeal No. 2018-962 K C], decided herewith), the order, insofar as appealed from, is reversed and defendant's cross motion for summary judgment dismissing the complaint is granted.
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 01, 2019










